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CONFERENCE ATTENDANCE RECORD |

DATE: Uf |3 - [2 TIME: 2:30

CASE NAME: IN RE: DEEPWATER HORIZON, ET AL.

DOCKET NUMBER & SECTION: MDL 2179

DISCOVERY STATUS CONFERENCE

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NAME OF ATTORNEY PARTY(S) REPRESENTED
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